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 8 Attorneys for the United States
 9                          UNITED STATES DISTRICT COURT
10
                         SOUTHERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA                  No. 17CR0623-JLS
12
13         v.                                  WITNESS LIST
14
     DAVID NEWLAND, ET AL.,
15                Defendants.
16
17        The United States hereby files the attached witness list in anticipation of trial in the
18 above-captioned matter beginning on February 28, 2022. The United States reserves the
19 right to add to, subtract from, and otherwise modify the Witness List as necessary.
20
21 DATED: February 24, 2022                             Respectfully submitted,
22
23                                                      RANDY S. GROSSMAN
                                                        United States Attorney
24
25                                                      /s/ David Chu
                                                        Assistant United States Attorney
26
27
28
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                            UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA

                                UNITED STATES’S
                             JURY TRIAL WITNESS LIST

CASE NAME:         United States v. David Newland, et al.
CASE NO:           17CR0623-JLS
HEARING:           Jury Trial – February 28, 2022

             WITNESS                                        TITLE
    Algire, Theodore          CAPT (O‐6), U.S. Navy (Retired)
    Armstrong, Stephen        CDR (0‐5), U.S. Navy
    Aruffo, Edmund            LCDR, U.S. Navy (Retired)
    Austin, Tab               CAPT (O‐6), U.S. Navy (Retired)
    Bach, Eric                CAPT (O‐6), U.S. Navy
    Barney, Steve Allen       CAPT (O‐6), U.S. Navy (Retired)
    Bashaw, Vernon            CAPT (O‐6), U.S. Navy (Retired)
    Benson, Andy              CAPT (O‐6), U.S. Navy (Retired)
    Bishoff, James            LT (O‐3), U.S. Navy (Retired)
    Boggs, Joseph B.          Civilian, U.S. Navy Retiree
    Cantu, Jesus              CAPT (O‐6), U.S. Navy (Retired)
    Carr, Ronald              CAPT (O‐6), U.S. Navy (Retired)
    Chadwick, Robert          RDML (O‐7), U.S. Navy
    Clarke, Wilburn           CAPT (O‐6), U.S. Navy (Retired)
    Crawford, Jodi            Special Agent, DCIS
    Cullipher, Teresa         Chief Warrant Officer (W‐04), U.S. Navy (Retired)
    DeGuzman, Enrico          Col (O‐6), U.S. Marine Corps (Retired)
    DeLaPena, Cordell         Special Agent, DCIS
    Dempski, Patricia         Special Agent, NCIS
    Dupray, Charles           FISC Yokosuka, Contracting Officer
    Dusek, Daniel             LCDR (O‐4), U.S. Navy (Retired)
    Espinoza, Wilvia          Audit Director, USPS‐OIG
    Francis, Leonard          Former President/CEO, GDMA
    French, William           LCDR (O‐4), U.S. Navy (Retired)
    Gayton, Rodney            CAPT (O‐6), U.S. Navy
    Gillett, Alexander        LCDR, Royal Australian Navy
    Gorsuch, Robert           Chief Warrant Officer (W‐03), U.S. Navy (Retired)
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              WITNESS                                     TITLE
    Gosch, Chad             Resident Agent, DCIS
    Greene, Brandon         ENS (O‐1), U.S. Navy
    Haas, David             CAPT (O‐6), U.S. Navy (Retired)
    Haley, John             RADM (O‐8), U.S. Navy (Retired)
    Halliden, Brian         CDR (O‐5), U.S. Navy (Retired)
    Hernandez, Esteban      Investigator
    Hertel, Andrew          CAPT (O‐6), U.S. Navy
    Ho, Pat                 Madam/Facilitator for Escorts
    Hornbeck, Donald        CAPT (O‐6), U.S. Navy (Retired)
    Kelly, Teresa           Civilian, U.S. Navy
    Kessler, Phillip        CAPT (O‐6), U.S. Navy (Retired)
    Law, Eric               CAPT (O‐6), U.S. Navy (Retired)
    Lawton, Mark            Special Security Officer (SSO), U.S. Navy, Civilian
    Lee, Stephanie          Special Agent, DCIS
    Maddox, Eric            Special Agent, NCIS
    Mayeda, Mark            Special Agent, DCIS
    Pacis, Heather          Digital Forensic Examiner, NCIS
    Peterson, Neil          Former Country Manager, GDMA
    Pfirrmann, Frederick    CAPT (O‐6), U.S. Navy (Retired)
    Piburn, James           CAPT (O‐6), U.S. Navy (Retired)
    Pilling, Justin         CDR (O‐5), U.S. Navy
    Porter, Ken             CDR (O‐5), U.S. Navy (Retired)
    Rathbun, Jeffrey        CAPT (O‐6), U.S. Navy (Retired)
    Ridnour, Alan           CAPT (O‐6), U.S. Navy (Retired)
    Sanchez, Jose           CAPT (O‐6), U.S. Navy (Retired)
    Settaphakorn, Pornpun   Former Country Manager, GDMA
    Settle, Ryan            Special Agent, DCIS
    Shedd, Stephen          CDR (O‐5), U.S. Navy
    Sickert, Patricia       Dependent Spouse of CAPT Mark Sickert, USN
    Smart, Jim              CAPT (O‐6), U.S. Navy (Retired)
    Smith, Melissa          Expert Witness, Food & Wine
    Traaen, Thomas          RDML (O‐7), U.S. Navy (Retired)
    Tyson, Nora             VADM (O‐9), U.S. Navy (Retired)
    Urban, William          CAPT (O‐6), U.S. Navy
    Wong, Christina         CDR (O‐5), U.S. Navy
    Zawislak, Edward        CAPT (O‐6), U.S. Navy (Retired)
